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                        IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE
 -----------------------------------------------------------X
                                                            :
                                                            :    Chapter 11
In re                                                       :
                                                            :    Case No. 09-10138 (KG)
                                            1
NORTEL NETWORKS INC., et al.,                               :
                                                            :    Jointly Administered
                                    Debtors.                : Hearing date: December 2, 2009 at 11:00 a.m. (ET)
                                                                        Objections due: December 1, 2009 at 12:00 p.m. (ET)
                                                               :
    -----------------------------------------------------------X

    NOTICE OF DEBTORS’ MOTION PURSUANT TO 11 U.S.C. §§ 105 AND 363 AND
      FED. R. BANKR. P. 9019 FOR ENTRY OF AN ORDER (I) AUTHORIZING
        AND APPROVING THE FLEXTRONICS SETTLEMENT AND RELEASE
              AGREEMENT, (II) AUTHORIZING AND APPROVING THE
       RELATED SIDE AGREEMENT AND (III) GRANTING RELATED RELIEF

                PLEASE TAKE NOTICE that the debtors and debtors-in-possession
(collectively, the “Debtors”) in the above-captioned cases, have today filed and served the
attached Debtors’ Motion Pursuant To 11 U.S.C. §§ 105 And 363 And Fed. R. Bankr. P.
9019 For Entry Of An Order (I) Authorizing And Approving The Flextronics Settlement
And Release Agreement, (II) Authorizing And Approving The Related Side Agreement
And (III) Granting Related Relief (the “Motion”).

               PLEASE TAKE FURTHER NOTICE that any party wishing to oppose the entry
of an order approving the Motion must file a response or objection (“Objection”) if any, to the
Motion with the Clerk of the United States Bankruptcy Court for the District of Delaware, 824
Market Street, 3rd Floor, Wilmington, Delaware 19801 on or before December 1, 2009 at 12:00
p.m. (ET) (the “Objection Deadline”).

                At the same time, you must serve such Objection on counsel for the Debtors so as
to be received by the Objection Deadline.



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           The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s tax identification number, are:
           Nortel Networks Inc. (6332), Nortel Networks Capital Corporation (9620), Nortel Altsystems Inc. (9769), Nortel
           Altsystems International Inc. (5596), Xros, Inc. (4181), Sonoma Systems (2073), Qtera Corporation (0251), CoreTek,
           Inc. (5722), Nortel Networks Applications Management Solutions Inc. (2846), Nortel Networks Optical Components
           Inc. (3545), Nortel Networks HPOCS Inc. (3546), Architel Systems (U.S.) Corporation (3826), Nortel Networks
           International Inc. (0358), Northern Telecom International Inc. (6286) and Nortel Networks Cable Solutions Inc. (0567)
           and Nortel Networks (CALA) Inc. (4226). Addresses for the Debtors can be found in the Debtors’ petitions, which are
           available at http://chapter11.epiqsystems.com/nortel.
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           PLEASE TAKE FURTHER NOTICE THAT A HEARING ON THE MOTION
WILL BE HELD ON DECEMBER 2, 2009 AT 11:00 A.M. (ET) BEFORE THE
HONORABLE KEVIN GROSS AT THE UNITED STATES BANKRUPTCY COURT FOR
THE DISTRICT OF DELAWARE, 824 MARKET STREET, 6TH FLOOR, COURTROOM #3,
WILMINGTON, DELAWARE 19801. ONLY PARTIES WHO HAVE FILED A TIMELY
OBJECTION WILL BE HEARD AT THE HEARING.

          IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE
COURT MAY GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT
FURTHER NOTICE OR HEARING.


Dated: November 24, 2009        CLEARY GOTTLIEB STEEN & HAMILTON LLP
       Wilmington, Delaware
                                James L. Bromley
                                Lisa M. Schweitzer
                                One Liberty Plaza
                                New York, New York 10006
                                Telephone: (212) 225-2000
                                Facsimile: (212) 225-3999

                                    - and -

                                MORRIS, NICHOLS, ARSHT & TUNNELL LLP


                                /s Ann C. Cordo
                                Derek C. Abbott (No. 3376)
                                Eric D. Schwartz (No. 3134)
                                Ann C. Cordo (No. 4817)
                                Andrew R. Remming (No. 5120)
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                                P.O. Box 1347
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                                Counsel for the Debtors and Debtors in Possession
3254543.1
